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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                 )
KAYLA DIONNE LEWIS, et al.,                      )
                                                 )
                        Plaintiffs,              )
        v.                                       )       Civil Action No. 15-352 (RBW)
                                                 )
THE DISTRICT OF COLUMBIA,                        )
                                                 )
                        Defendant.               )
                                                 )

                                                ORDER

        In accordance with the oral rulings issued by the Court at the status conference held on

September 23, 2020, via teleconference, it is hereby

        ORDERED that, on or before October 23, 2020, the plaintiffs shall file their renewed

motion for class certification. It is further

        ORDERED that, on or before November 23, 2020, the defendant shall file its opposition

to the plaintiffs’ motion. It is further

        ORDERED that, on or before December 23, 2020, the plaintiffs shall a reply in support

of their motion. It is further

        ORDERED that, on January 26, 2021, at 10:00 a.m., the parties shall appear before the

Court for a hearing on the plaintiffs’ renewed motion for class certification via teleconference by

calling 1-877-873-8017 and entering the Court’s access code (8583213) followed by the pound

key (#).

        SO ORDERED this 24th day of September, 2020.


                                                             REGGIE B. WALTON
                                                             United States District Judge
